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                    IN THE UNITED STATES DISTRICT COURT FOR
                        THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

JOSEPH RUFO,                                     )
                                                 )
       Plaintiff,                                )
                                                 )
v.                                               )      Case No. 1:18-cv-00037
                                                 )
ACLARA TECHNOLOGIES, LLC.                        )
                                                 )
       Defendant.                                )

                  DEFENDANT’S MEMORANDUM IN SUPPORT
          OF ITS OMNIBUS MOTION IN LIMINE TO EXCLUDE EVIDENCE

       Defendant Aclara Technologies, LLC (“Aclara” or “Defendant”), by counsel, respectfully

submits the following memorandum in support of Defendant’s Omnibus Motion in Limine to

exclude certain evidence by Plaintiff. The instant Motion is intended to address issues Defendant

anticipates may arise with respect to Plaintiff’s evidence, argument, and comment before the jury.

Therefore, Defendant respectfully requests that the Court exclude the following:

       1. Evidence or testimony regarding claims not included in Plaintiff’s Amended

           Complaint. Claims outside the scope of the pleadings are not properly before the Court

           and Defendant cannot be on notice that any such claim is being raised.

       2. Any allegation, suggestion, implication, or evidence regarding the reason(s) why any

           of Defendant’s potential witnesses are not available for trial, or why any party has not

           presented evidence from a witness. The availability of a witness for trial and a party’s

           trial strategy are not relevant to the facts at issue in this lawsuit and would likely

           confuse the jury and would serve only as an attempt to substantially prejudice the jury

           against Defendant. See FED. R. EVID. 401, 403. Similarly, Plaintiff should not be

           permitted to present any argument, comment, or reference that Defendant has not called
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         to testify any witnesses who are equally available to both parties or speculate on the

         probable testimony of any witness who does not testify. See id.

      3. Any testimony that in any manner calls attention to the difference in financial abilities

         or capacities of the parties. Any reference to Defendant’s financial status or worth for

         the purposes of prejudicing the jury against Defendants should be excluded for the

         reasons that such facts are completely immaterial to the issues involved, and at the same

         time the mere making of such references would unfairly prejudice Defendant. See Fed.

         R. Evid. 402, 403.

      4. Any reference to Defendant’s financial ability to litigate. Any statement, testimony

         reference, question, document and/or evidence, whether directly or indirectly, relating

         to Defendant’s financial ability to defend or prosecute a claim, its financial ability to

         pay Plaintiff’s claims, or any reference to the cost that may have been incurred by

         Defendant in defending this or any other lawsuit should be excluded. This evidence is

         not relevant to Plaintiff’s claims under Section 1981, and would unfairly prejudice

         Defendant. See FED. R. EVID. 401, 402, 403.

      5. Any reference to the size of Defendant’s counsel’s firm, and any reference to pending

         or past litigation against Defendant’s counsel’s firm.      Any statement, testimony,

         reference, question, document and/or evidence, whether directly or indirectly, from

         Plaintiff referring to or making an attempt to refer to Defendant’s counsel as “big firm

         lawyers,” or any other phrase or terminology of similar import. Such references would

         unfairly prejudice Defendant as the jury considers Plaintiff’s case and the weight of

         Defendant’s defenses. See FED. R. EVID. 403. Similarly, Plaintiff should be precluded

         from making any comment or reference to the number of attorneys appearing on behalf




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         of Defendant, the clothes or jewelry worn by counsel, staff and witnesses, the nature or

         number of trial exhibits, demonstrative exhibits and other evidence, witness fees, or

         any inference that this is a “David and Goliath” situation. Id.; see also Union Elec.

         Light & Power v. Snyder Real Estate Co., 65 F.2d 297, 303 (8th Cir. 1933).

      6. Any mention of either party’s or any counsel’s statements made during settlement

         negotiations and/or mediation. These statements are inadmissible because they are not

         relevant to Plaintiff’s claims and would unfairly prejudice the parties. See FED. R.

         EVID. 403, 408.

      7. Any mention of or reference to another party’s objections to written discovery or

         deposition questions in this case because such objections should have been timely

         raised with the Court prior to trial.    Furthermore, should a party choose to use

         deposition testimony, via video or written transcript, counsel should be instructed to

         edit out any objections made by opposing counsel during the deposition prior to reading

         or playing the video for the jury. Discovery objections and disputes are not “evidence”

         and are not relevant to the merits of Plaintiff’s claims in this lawsuit. Even if the

         discovery objections and disputes had some probative value, that probative value would

         be outweighed by the dangers of unfair prejudice, confusion of the issues, misleading

         the jury, undue delay, waste of time and needless presentation of cumulative evidence.

      8. Any evidence, comments, or reference to Defendant’s liability insurance that may

         provide coverage for the damages alleged in this case. “Evidence that a person was or

         was not insured against liability is not admissible to prove whether the person acted

         negligently or otherwise wrongfully.” See FED. R. EVID. 411.




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      9. Any testimony by a witness and/or any documents that Plaintiff did not previously

         identify in initial disclosures. See Fed. R. Civ. P. 26(e) and 37(c)(1).

      10. Any attempt to request Defendants’ attorneys to produce documents, to stipulate to any

         fact, or to make any agreement in the presence of the jury.

      11. Any mention of or reference to any other current or prior lawsuits, charges, complaints,

         or claims, whether internal or external, made and/or filed against Defendant or

         Defendant’s employees. These statements are inadmissible because they are not

         relevant to Plaintiff’s claims and would unfairly prejudice Defendant. See FED. R.

         EVID. 401, 402, 403.

      12. Any “Golden Rule” arguments or appeals to the jury. “A ‘Golden Rule’ appeal in

         which the jury is asked to put itself in the plaintiff’s position ‘is universally recognized

         as improper because it encourages the jury to depart from neutrality and to decide the

         case on the basis of personal interest and bias rather than on the evidence.’” Spray-Rite

         Serv. Corp. v. Monsanto Co., 684 F.2d 1226, 1246 (7th Cir. 1982) aff'd, 465 U.S. 752

         (1984) (internal citation omitted).

      13. Any references that jury members should “send a message” to Defendant as the

         “conscience of the community,” or consider similar and equally improper factors in

         determining whether to award damages, or in determining the size of such awards,

         should be excluded during the course of the trial. Such instructions are inherently

         prejudicial because, on their face, they urge the jury to render its verdict based on

         “passion and prejudice.” See, e.g., Blair v. Eagle-Picher Indus., Inc., 962 F.2d 1492,

         1499 (10th Cir. 1992) (“[A] verdict that is the product of passion and prejudice cannot

         be cured by remittitur and a new trial is required.”); see also Fed. R. Evid. 403.




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       14. Any references to motions practice or the instant motions in limine, as such references

           are not “evidence” pertaining to Plaintiff’s claims, and argument and testimony

           regarding such motion practice would only serve to mislead and confuse the jury.

       15. Evidence that Plaintiff is entitled to recovery of front pay or retirement benefits. Such

           evidence should be excluded because “[f]ront pay is an equitable issue to be determined

           by the district court, taking all aspects of the case into consideration and reducing the

           award to its present value.” See Bevan v. Honeywell, Inc., 118 F.3d 603, 613 (8th Cir.

           1997) (reversing and remanding because district court improperly submitted

           determination of front pay to the jury).

       WHEREFORE for the foregoing reasons, Defendant respectfully requests that the Court

grant the instant Motion and exclude the evidence detailed above.




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Dated: September 21, 2018                 Respectfully submitted,

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                                     Certificate of Service

       I hereby certify that on this 21st of September 2018, I electronically filed the foregoing
with the clerk of the court using the CM/ECF system which will send notification of such filing to
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